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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 DATHAN A. GRIFFIN,                         )
                                            )
       Plaintiff,                           )
                                            )
                    v.                      )     No. 6:21-cv-959-RBD-LRH
                                            )
 EPIC GAMES, INC.,                          )
                                            )
       Defendant.                           )
                                            )


DECLARATION OF MARK REIN IN SUPPORT OF EPIC GAMES, INC.’S
          MOTION TO COMPEL ARBITRATION AND
         IN RESPONSE TO ORDER TO SHOW CAUSE

      Mark Rein, being of lawful age, hereby declares under penalty of perjury of

the laws of the United States as follows:

      1.     I am a Vice President at Epic Games, Inc. (“Epic Games”). I have held

this position since 1992. I have personal knowledge of the facts stated herein and I

am otherwise competent to testify. I submit this declaration in support of Epic

Games’ Motion to Compel Arbitration or, In the Alternative, To Transfer the Case

to the Eastern District of North Carolina, and in response to the Court’s recent Order

to Show Cause regarding Epic Games’ corporate citizenship.
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